






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00571-CV






City of Garland, Appellant


v.


Public Utility Commission of Texas, Appellee






DIRECT APPEAL FROM THE PUBLIC UTILITY COMMISSION OF TEXAS




M E M O R A N D U M   O P I N I O N


		

		The Public Utility Commission of Texas has filed a Motion to Abate for 120 Days
Pending Adoption of Amended Rule.  We grant the motion.

                        This appeal is abated until June 25, 2007.  This Court's order staying enforcement&nbsp;of
portions of the challenged rule, signed September 29, 2006, and modified by order signed
January&nbsp;12, 2007, will remain in effect during the abatement.  The parties may move to lift
the&nbsp;abatement or to extend the abatement.

		Ordered February 27, 2007.


						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Puryear, Pemberton and Waldrop


